DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                          THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                  Document 12-3           FiledThe
                                                                                    04/10/24         Page
                                                                                       Authoritative Copy    1 ofrecord
                                                                                                          of this  11 PageID:
                                                                                                                        is held at na2.docusign.net
                                                             187                                                                 MCON002




             Promissory Note (“Note”)


             Loan ID:
             Upstart Borrower ID:
             Lender:
             Cross River Bank
             885 Teaneck Road
             Teaneck, NJ 07666


             1.

                                                                      $7,500
             on the date that funds are issued to me at the rate of ____________
                                                                     17.38%
                                                                                                 W
                      Promise to Pay. For value received from Cross River Bank, a New Jersey state-chartered bank
             located in Teaneck, New Jersey (“CRB,” or “you”), I promise to pay to the order of CRB or any subsequent
             holder or assignee of this Note, the principal sum of __________,




                                                                                              IE
                                                                                together with interest thereon commencing
                                                                                 per annum simple interest. I acknowledge
             that I have read and agree to be bound by the agreement to arbitrate all claims in Section 17 below unless I




                                                               V
             have rejected the provision as provided in Section 17. By completing and submitting my loan application, I
             am requesting a loan on the terms described in this Note. I understand and agree that when you receive my
             application and this signed Note you are not agreeing to lend me money and you have the right not to make a
             loan to me. I understand that I am not bound by the terms and conditions set forth in this Note until you have




                                                             Y
             funded a Loan. If you decide to make a Loan to me, I agree to be bound by the terms of this Note.
             2.                                             60
                      Payments. This Note is payable in ______                                  $187.92
                                                                     monthly installments of ______________      each,
                                                                        Mar   10,   2022
             consisting of principal and interest, commencing on _________________________, and continuing on the




                               P
                                                                                                  Feb 10, 2027
             same day of each successive month thereafter until the final payment date of _____________________,         which
             is the maturity date of this Note. If the payment due date typically is on the 29th, 30th, or 31st of the month,
             but a month does not have a 29th, 30th, or 31st day, then the monthly payment will be due on the last day of




                             O
             the month in which the payment was due unless otherwise notified in writing. The final payment will consist
             of the then-remaining principal, unpaid accrued interest and other charges due under this Note. All payments
             will be applied first to any unpaid fees incurred as a result of failed automated payments or returned bank




              C
             drafts or checks, as provided in Section 4 below; then to any late charges then due; then to any interest then
             due; and then to principal. Although the principal amount of my loan includes the origination fee, no unpaid
             interest or other charges will be added to principal.
             3.       Interest. Periodic interest will be charged on unpaid principal until the full amount of principal has
             been paid. Interest under this Note will accrue on a daily basis on the unpaid principal balance (including my
             origination fee) set forth above. Because of the accrual of interest on any late payments and the effect of
             rounding, my final payment may be more (or less) than my regular payment. I acknowledge that if I make my
             payments after the scheduled due date, this Note will not amortize as originally scheduled, which may result in
             a substantially higher final payment amount. The interest rate I will pay will be the rate I will pay both before
             and after any default unless and until my loan is charged off.
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                         THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                  Document 12-3           FiledThe
                                                                                    04/10/24         Page
                                                                                       Authoritative Copy    2 ofrecord
                                                                                                          of this  11 PageID:
                                                                                                                        is held at na2.docusign.net
                                                             188                                                                 MCON002




             4.       Fees. I agree to pay the following fees to the extent permitted by applicable law:


                                                    Fee                     Frequency                      Description

                   Origination Fee                 7.721%
                                                  _______                    One time             This is a one-time fee
                                           of the Loan Amount                                     and, except as provided
                                                                                                  in Section 10, is non-
                                                                                                  refundable. You will
                                                                                                  deduct from the loan
                                                                                                  proceeds before they are
                                                                                                  delivered to me.

                  Late Payment Fee        The greater of 5% of            Per occurrence          If I do not pay you the




                                                                                                 W
                                          past due amount or                                      full amount of any
                                                  $15.                                            monthly payment within
                                                                                                  10 calendar days of its




                                                                                              IE
                                                                                                  due date, you may
                                                                                                  charge me a late fee.
                                                                                                  Any payment received




                                                               V
                                                                                                  after 3:00 PM Pacific
                                                                                                  time on a business day is
                                                                                                  deemed received on the
                                                                                                  next business day.

              ACH Return or Check
                 Refund Fee




                                P
                                                    $15



                                                             Y            Per occurrence          If Automated Clearing
                                                                                                  House ("ACH") transfers
                                                                                                  or checks are rejected or
                                                                                                  returned for any reason,
                                                                                                  or fail due to insufficient




                              O
                                                                                                  funds in my bank
                                                                                                  account, then you may
                                                                                                  charge this fee. Each




              C
                                                                                                  attempt to collect a
                                                                                                  payment is considered a
                                                                                                  separate transaction, so
                                                                                                  an ACH return or check
                                                                                                  refund fee will be
                                                                                                  assessed for each failed
                                                                                                  attempt.

             I authorize you to collect these fees using ACH transfers initiated by you from my designated bank account if I
             have chosen this method of payment (see Section 6). Any fees you assess are immediately due. I
             acknowledge and agree that the origination fee is part of my loan principal.
             Members of the Armed Forces: Federal law provides important protection to members of the Armed Forces
             and their dependents relating to the extension of consumer credit. In general, the cost of consumer credit to a
             member of the Armed Forces and his or her dependent may not exceed an annual percentage rate of 36
             percent. This rate must include, as applicable to the credit transaction or account: The costs associated with
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                           THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                   Document 12-3           FiledThe
                                                                                     04/10/24         Page
                                                                                        Authoritative Copy    3 ofrecord
                                                                                                           of this  11 PageID:
                                                                                                                         is held at na2.docusign.net
                                                              189                                                                   MCON002




             credit insurance premiums; fees for ancillary products sold in connection with the credit transaction; any
             application fee charged (other than certain application fees for specified credit transactions or accounts); and
             any participation fee charged (other than certain participation fees for a credit card account).

             5.        Proceeds. I agree that the proceeds of my loan will be paid via an electronic fund transfer into the
             deposit account I have identified in my loan application, or in such other manner as you determine. I
             acknowledgement that the timeliness of crediting proceeds to this account is dependent on the accuracy of the
             information I provide, when I complete all origination activities, and prompt crediting by the financial
             institution that holds my account. You are not responsible for the actions of the financial institution that holds
             my account.

             6.        Method of Payment. I agree to pay the principal, periodic interest and any fees on this Note when
             due. You have given me the choice of making my monthly payments by (i) an ACH or other electronic fund
             transfer from my bank account that I have authorized to automatically recur, (ii) by an ACH transfer initiated
             by me each month, or (ii) personal check by regular mail to Upstart Loan Operations, P.O. Box 1503, San
             Carlos, CA 94070 or any subsequent creditor that I am notified of. If I have completed an ACH bank transfer




                                                                                                  W
             authorization, then you will automatically transfer my first payment in the amount specified in the
             authorization from my bank account, unless I cancel or modify this payment at least 3 business days before its
             scheduled date by contacting you, as described in Section 14, or your bank. If my ACH bank transfers are




                                                                                               IE
             rejected or returned for any reason, I understand and agree that you may try to debit my account two more
             times. I also agree you may apply the ACH return/check refund fee described in Section 4, subject to
             applicable law, each time an ACH transfer is returned or rejected. I acknowledge that my financial institution
             may also charge a fee in addition to your fee and you are not responsible for any such fees. All written




                                                               V
             communications concerning disputed amounts, including any check or other payment instrument that (i) is
             postdated and accompanied by adequate notice, (ii) indicates that the payment constitutes “payment in full” of
             the amount owed, (iii) is tendered with other conditions or limitations or (iv) is otherwise tendered as full




                                                             Y
             satisfaction of a disputed amount, must be marked for special handling and mailed or delivered to us at Upstart
             Loan Operations, P.O. Box 1503, San Carlos, CA 94070.




                               P
             7.       Waiver of Defenses.         Except as otherwise provided in this Note or as required by applicable law,
             you are not responsible or liable to me for the quality, safety, legality or any other aspect of any property or
             services purchased with the proceeds of my loan. If I have a dispute with any person from whom I have




                             O
             purchased such property or services, I agree to settle the dispute directly with that person. Notwithstanding the
             foregoing, this section shall not apply if I am a “covered borrower” under the Military Lending Act, 10 U.S.C
             § 987 and this section would waive a right to legal recourse that I have under federal, state, or other applicable




              C
             law.

             8.       Certification. Unless I have certified to you otherwise, I agree that the proceeds of my loan will not
             be applied (i) in whole or in part to postsecondary educational expenses (i.e., tuition, fees, required equipment
             or supplies, room and board, or other miscellaneous personal expenses incurred while I am studying) at a
             college/university/vocational school, as the term “postsecondary educational expenses” is defined in
             Regulation Z, 12 C.F.R. § 1026.46 (b)(3), or (ii) for any home purchase or refinance.

             9.       Default and Remedies. Subject to the limitations of applicable state law and any right to notice and
             to cure under applicable state law, I will be deemed in default (each, an "Event of Default") of my obligations
             under this Note if I: (i) fail to pay timely any amount due under this Note; (ii) file or have instituted against me
             any bankruptcy or insolvency proceedings or make any assignment for the benefit of creditors; (iii) die; (iv)
             commit fraud or make any material misrepresentation in this Note or in my loan application; or (v) fail to abide
             by the terms of this Note. Upon the occurrence of an Event of Default, you may exercise all remedies
             available to you under applicable law, including demand that I immediately pay all amounts due under this
             Note. You reserve the right to report loan payment delinquencies of 30 days or longer to one or more
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                          THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                  Document 12-3           FiledThe
                                                                                    04/10/24         Page
                                                                                       Authoritative Copy    4 ofrecord
                                                                                                          of this  11 PageID:
                                                                                                                        is held at na2.docusign.net
                                                             190                                                                  MCON002




             consumer reporting agencies in accordance with applicable law. I acknowledge these may be reflected in my
             credit report. I agree to pay all costs of collecting any delinquent payments, including reasonable attorneys'
             fees, to the greatest extent not prohibited by applicable law.

             10.      Prepayments; Partial Payments; Forbearance. I may prepay this Note in full or in part at any time
             without penalty. Any partial prepayment is to be applied against outstanding principal and does not postpone
             the due date of any subsequent monthly installments, unless you otherwise agree in writing. If I prepay this
             Note in part, I agree to continue to make regularly scheduled payments until all amounts due under this Note
             are paid. A partial pre-payment will not result in the refund of any origination fee amount.

             Further, I understand I may request forbearance in accordance with your reasonable procedures and
             requirements, and the decision to grant my request for forbearance shall be solely at your discretion. During
             any period of forbearance, my regularly scheduled payments of principal and interest on my loan may be
             deferred to the extent permitted by applicable law. Except as described above, I understand that I will remain
             responsible for all interest accruing during any period of forbearance. I understand that any periods of
             forbearance may increase my monthly payments during my loan term or, in limited cases, may extend my




                                                                                                 W
             repayment period unless prohibited by applicable law.

             11.      Waivers.       Even if, at a time when I am in default, you do not require me to pay immediately in full,




                                                                                              IE
             you will still have the right to do so if I am in default at a later time. Neither your failure to exercise any of
             your rights, nor your delay in enforcing or exercising any of your rights, will waive those rights. Furthermore,
             if you waive any right under this Note on one occasion, that waiver will not operate as a waiver as to any other
             occasion. Subject to applicable laws, unless I am a “covered borrower” under the Military Lending Act, 10




                                                               V
             U.S.C § 987, I waive presentment, notice of dishonor, protest and all other demands and notices in connection
             with the delivery, acceptance, performance or enforcement of this Note.




                                                             Y
             12.      Assignment. I am not allowed to assign any of my obligations under this Note without your written
             permission. I understand that you do not have to give me permission. I agree that you may assign or transfer
             this Note or any of your rights to another person or entity. You may take these actions without notice or




                               P
             consent from me. Any sale or transfer of my Note does not affect my rights and duties under this Note.

             13.      Registration. You and I appoint Upstart Network, Inc., (“Upstart”) to act as a non-fiduciary agent.




                             O
             Upstart will keep at its offices an electronic register of any transfer, assignment or sale of this Note (the
             “Register”). The names and address of any person entitled to payments on my Note will be recorded in the
             Register. Any assignment, participation or transfer of this Note or any of its rights shall be registered in the




              C
             Register and only if Upstart receives a signed assignment or similar agreement in a reasonably acceptable. You
             and I agree that beneficial ownership of all payments under my Note as reflected in the Register will be
             conclusive. Upstart will give me notice of a change in ownership of my Note reflected in the Register if
             required by law. Upstart will also give me notice if I pay by check and the transfer changes the address to
             which I must make payments. The name of the owner in the Register shall be available to me upon written
             request to Upstart. This Section is intended to result in this Note being maintained at all times in “registered
             form” as defined by U.S. Treasury Regulations Section 1.871-14(c) and Sections 163(f), 871(h) and 881(c) of
             the Internal Revenue Code of 1986, as amended, and will be interpreted and applied in a way that is consistent
             with these laws.

             14.      Electronic Communications; Notices; Contacting You. When I applied for a loan from you, I
             expressly agreed to receive electronically all communications, agreements, documents, notices and disclosures
             (collectively, "Communications") that you provide in connection with this Note and Upstart‘s servicing of my
             payment obligations under this Note. All Communications given to me by email to my registered email
             address or posted on www.upstart.com is deemed to have been duly given and effective upon transmission or
             when they were posted. I agree that you (including any other owner or servicer of my loan) may contact me
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                           THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                   Document 12-3           FiledThe
                                                                                     04/10/24         Page
                                                                                        Authoritative Copy    5 ofrecord
                                                                                                           of this  11 PageID:
                                                                                                                         is held at na2.docusign.net
                                                              191                                                                  MCON002




             for any lawful reason, including for the collection of amounts owed to you. No such contact will be deemed
             unsolicited. You may contact me at such addresses or numbers (including cell phone numbers and landlines)
             as I may provide to you from time to time and you may use any means of communication, including regular
             mail, electronic mail, telephone, text message or other technology, to reach me. I agree that you may use
             automatic dialing and announcing devices which may play recorded messages. I represent that I have the
             authority to provide this consent because I am either the subscriber of the telephone number(s) or the
             customary user of each of the telephone numbers that I have provided to you who has the authority to provide
             consent. I also provide this consent to any agent, service provider, vendor, or collection agency acting on your
             behalf. I may contact you at any time to ask that you not contact me using any one or more methods or
             technologies. I acknowledge that communications from you may contain sensitive, confidential, and
             collections-related communications. If my information changes, such as my email address, my mailing
             address or my telephone number, I agree to notify you promptly of the change.

             I can contact you by logging into www.upstart.com. I may contact you by emailing support@upstart.com, by
             calling (650)-204-1000 during your operating hours 9:00 AM Pacific time to 5:00 PM Pacific time, each
             Monday through Friday that are business days, or by writing via regular mail care of Upstart Loan Operations,




                                                                                                  W
             P.O. Box 1503, San Carlos, CA 94070.

             15.      Credit Inquiries, Loan Information; Inaccurate Information. I authorize you to obtain a credit




                                                                                               IE
             report on me for any legal purpose in connection with this Note, including any update, extension of credit,
             review, or collection of this loan. If I request, you will tell me whether any credit report was requested, and if
             so, the name and address of the credit bureau furnishing the report. If I believe that you have information
             about me that is inaccurate or that you have reported or may report inaccurate information about me to a credit




                                                               V
             bureau, I will notify you of the specific information that I believe is inaccurate by writing to you care of
             Upstart Loan Operations, P.O. Box 1503, San Carlos, CA 94070. In doing so, I will identify the inaccurate
             information and tell you why I believe it is incorrect. If I have a copy of the credit report that includes the




                                                             Y
             inaccurate information, I will send a copy of that report to you as well.

             16.      Governing Law; Misc. I understand and agree that CRB is an FDIC-insured institution located in




                               P
             New Jersey. Consequently, the provisions of this Note will be governed by federal law and (to the extent not
             preempted by federal law) the laws of the State of New Jersey, without regard to conflict of law rules, except
             as noted above. However, if I am a resident of Colorado when I sign this Note, then the provisions of this Note




                             O
             will be governed by federal law and (to the extent not preempted by federal law, including with respect to the
             terms of this Note relating to interest) the laws of the State of Colorado without regard to conflict of law rules,
             except as noted above. Without limiting the foregoing, all terms of this Note relating to interest, as that term is




              C
             defined under applicable federal law, including but not limited to origination fees, periodic interest, late fees
             and returned check fees, shall be governed by 12 U.S.C. § 1831d and the laws of the State of New Jersey.
             Section 17 (Arbitration Agreement) is governed by the Federal Arbitration Act, and not by any state law
             concerning arbitration. If any provision of this Note cannot be enforced, the rest of the provisions of this Note
             will stay in effect. No amendment of this Note will be valid unless in writing and signed by both you and me.
             This Note represents the entire agreement between you and me regarding my loan.

             17.     Complaints; Disputes; Arbitration.
             NOTICE: IF I AM ARE A COVERED BORROWER UNDER THE MILITARY LENDING ACT, 10
             U.S.C. § 987, THE FOLLOWING ARBITRATION PROVISION DOES NOT APPLY TO ME.
                       A.      Governing Law. I acknowledge agree that the Note involves interstate commerce and that this
             arbitration clause will be construed, applied and governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq.,
             ("FAA"), as amended. The Arbitrator (defined below) shall apply applicable law and applicable statutes of
             limitation consistent with the FAA and shall honor claims of privilege recognized at law.
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                            THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                    Document 12-3           FiledThe
                                                                                      04/10/24         Page
                                                                                         Authoritative Copy    6 ofrecord
                                                                                                            of this  11 PageID:
                                                                                                                          is held at na2.docusign.net
                                                               192                                                                   MCON002




                      B.       Dispute: “Dispute” means any action, dispute, claim, or controversy of any kind arising out
             of, in connection with or in any way related, even indirectly, to the Note or the extension of credit set forth in
             the Note. For example, “Dispute” includes claims related to: any relationship resulting from, or activities
             connected to this Note; my application; information I have provided to you; information and disclosures you
             have provided to me; any prior agreements between you and me; extensions; renewals; refinancings; payment
             plans; underwriting; servicing; collections; privacy; and customer information. The term "Dispute" also
             includes: claims under federal or state consumer protection laws; claims in tort or contract; claims under
             statutes or common law; claims at law or in equity; other past, present or future claims, counterclaims, cross-
             claims, third party claims, interpleaders or otherwise; and any claim relating to the interpretation, applicability,
             enforceability or formation of this arbitration clause, including, any claim that all or any part of this arbitration
             clause, except paragraph G below, is void, voidable or unconscionable.
                       C.       Mandatory Arbitration: Unless otherwise stated in this arbitration clause, any "Dispute"
             between the Parties shall, at your or my election or the election of any of our respective heirs, successors,
             assignees or related third parties, including Upstart, any other subsequent holder of my Note, and their
             affiliates, subsidiaries, and parents, (the “Parties"), be resolved by a neutral, binding arbitration, and not by a




                                                                                                   W
             court of law. This procedure includes any Dispute over the interpretation, scope, or validity of this Note, this
             arbitration clause or the arbitrability of any issue, with the sole exception of the Parties' waiver of any right to
             bring a class action or to participate in a class action as provided for under paragraph G below shall be solely




                                                                                                IE
             determined by the appropriate court, if necessary. This arbitration clause applies to the Parties, including their
             respective employees or agents, as to all matters which arise out of or relate to this Note or are in any way
             connected with the extension of credit set forth in this Note, or any resulting transaction or relationship.
                       D.      Facts About Arbitration: In arbitration, a neutral third party (“Arbitrator”) resolves




                                                               V
             Disputes, instead of a judge or jury. I, with you, waive the right to go to court. The Arbitrator will conduct a
             hearing, which is private and less formal than a court trial. Each side will have the opportunity to present some
             evidence to the Arbitrator. The Arbitrator may limit the Parties’ ability to conduct fact-finding prior to the




                                                             Y
             hearing, called “discovery.” Other rights that the Parties might have in court might not be available in
             arbitration. Following the hearing, the Arbitrator will issue an award. The Arbitrator’s decision is final, and a
             court may then enforce the award like a court judgment. Courts rarely overturn an Arbitrator’s award.




                                P
                      E.        Pre-Arbitration Resolution: Prior to starting arbitration, I can call you at (650) 204-1000 or
             write to you at Upstart Loan Operations, P.O. Box 1503, San Carlos, CA 94070 to attempt to resolve the
             Dispute. We will try to resolve the Dispute. If you make a written offer (“Settlement Offer”), I may reject it




                              O
             and arbitrate. If we do not resolve the Dispute, either party may start arbitration. No party will disclose
             settlement proposals, including a Settlement Offer, to the Arbitrator.




              C
                      F.       Rules and Procedures: Either party may start arbitration by mailing a notice of arbitration,
             even if a lawsuit has been filed. Such notice shall be given by certified mail, return receipt requested. Notice to
             me shall be sent to the email address I provided to you in my loan application, as updated. Notice to you, your
             assignees or related third parties shall be sent to Upstart Loan Operations, P.O. Box 1503, San Carlos, CA
             94070. The Party initiating the arbitration shall set forth in the notice the nature and factual basis of the
             Dispute, the names and addresses of all other Parties, the amount involved, and the specific relief requested.
             The responding Party must mail a response within 45 days, and may also set forth any counter-Disputes. The
             American Arbitration Association (“AAA”) shall conduct any arbitration according to this arbitration clause.
             The AAA arbitration rules in effect when the claim is filed apply (“AAA Rules”), except where those rules
             conflict with this Arbitration Clause or any of our agreements with you. I can get copies of the AAA Rules at
             the AAA’s website (www.adr.org) or by calling 800-778-7879. You or I may choose to have a hearing, appear
             at any hearing by phone or other electronic means, and/or be represented by counsel.
                       G.       Class Action Waiver: The Parties agree to give up any right they may have to bring a class
             action lawsuit or class arbitration, or to participate in either as a claimant. The Parties agree to give up any
             right to consolidate or join any arbitration proceeding with the arbitration of others. The Parties give up the
             right to serve as a private attorney general in any jurisdiction in which such procedure might be permitted. To
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                             THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                    Document 12-3            FiledThe
                                                                                       04/10/24         Page
                                                                                          Authoritative Copy    7 ofrecord
                                                                                                             of this  11 PageID:
                                                                                                                           is held at na2.docusign.net
                                                               193                                                                    MCON002




             the extent the Parties are permitted to file small claims under Paragraph K below, the Parties agree that any
             small claim may only be brought on an individual basis and that no small claim may be brought on a class or
             representative basis. The Parties further agree that if a court or arbitrator decides this Paragraph G is void or
             unenforceable, this arbitration clause shall be void and without effect.
                       H.      Fees and Costs: If I request, you shall advance all of the Arbitrator’s fees and expenses, as
             well as all administrative and filing fees, up to an amount of $1000. The Parties shall be responsible for their
             own attorneys’ fees associated with any arbitration, unless otherwise allowed for under applicable substantive
             law and awarded by the Arbitrator. If the Arbitrator awards me funds, I will not have to reimburse any
             arbitration fees and expenses you have advanced. If the Arbitrator does not award me funds, I agree to
             reimburse you for any arbitration fees and expenses you have advanced. Any such reimbursement shall not
             exceed the filings fees and costs I would have incurred had I filed a lawsuit in court.
                      I.       Exceptions:      The Parties agree that this arbitration clause is not applicable to "small
             claims" meaning those claims that either Party is entitled to file and maintain in an appropriate small claims
             court or any action where the total amount in controversy is no greater than $10,000, including any claims for
             attorney's fees and non-monetary relief. The Parties agree that any small claim may only be brought on an




                                                                                                    W
             individual basis and that no small claim may be brought on a class or representative basis. The Parties agree
             that any appeal from a judgment obtained pursuant to this paragraph shall be appealable only by arbitration
             according to the procedures set forth in this arbitration clause.




                                                                                                 IE
                       J.       Severability:     If it is determined that any paragraph or provision in this arbitration clause is
             illegal, invalid, or unenforceable, such illegality, invalidity or unenforceability shall not affect the other
             paragraphs and provisions of this arbitration clause. The remainder of this arbitration clause shall continue in




                                                               V
             full force and effect as if the severed paragraph or provision had not been included. Notwithstanding this
             severability provision, if a court of competent jurisdiction determines paragraph G to be void, illegal, invalid,
             or unenforceable, the Parties agree that paragraph G above shall not be severed and that this arbitration clause
             shall be void in its entirety.




                                                             Y
                          K. Right to Opt Out: If I do not want this arbitration clause to apply, I may reject it by mailing a
             written notice to you that lists my name, address and account number and states that I am opting out of the




                                P
             arbitration clause. An opt out notice is only effective if it is signed by me, and the envelope that the opt out
             notice is sent in is postmarked no more than 30 calendar days after the date I sign this Note. If I opt out of this
             arbitration clause, it will not affect any other provisions of the Note or my obligations under the Note. If I do




                              O
             not properly opt out as set forth above, it will be effective as of the date of the Note. If I opt out of this
             arbitration clause, such election shall apply only to this Note, and not to any other past, present or future
             agreements I have with you.




              C
             FOR ALL DISPUTES COVERED BY THIS PROVISION, THE PARTIES HAVE AGREED TO
             WAIVE THEIR RIGHT TO A TRIAL BY JURY, THEIR RIGHT TO PARTICIPATE IN CLASS
             ACTIONS OR CLASS ARBITRATIONS, AND THEIR RIGHT TO SEEK PUNITIVE AND/OR
             EXEMPLARY DAMAGES. EXCEPT FOR DISPUTES AND CLAIMS NOT SUBJECT TO THIS
             PROVISION, ARBITRATION SHALL BE IN PLACE OF ANY CIVIL LITIGATION IN ANY
             COURT AND IN PLACE OF ANY TRIAL BY JURY.
             THE TERMS OF THIS PROVISION AFFECT MY LEGAL RIGHTS. IF I DO NOT UNDERSTAND
             ANY TERMS OF THIS PROVISION OR THE COST, ADVANTAGES OR DISADVANTAGES OF
             ARBITRATION, I UNDERSTAND I SHOULD SEEK INDEPENDENT ADVICE BEFORE SIGNING
             THIS NOTE. BY SIGNING THIS NOTE, I ACKNOWLEDGE THAT I HAVE READ, UNDERSTAND
             AND AGREE TO BE BOUND BY EACH OF THE PROVISIONS, COVENANTS AND
             STIPULATIONS SET FORTH ABOVE.

             18.    NO WARRANTIES; LIMITATION ON LIABILITY. EXCEPT AS EXPRESSLY SET FORTH
             IN THIS NOTE, I UNDERSTAND YOU HAVE MADE NO REPRESENTATIONS OR WARRANTIES TO
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                           THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                   Document 12-3           FiledThe
                                                                                     04/10/24         Page
                                                                                        Authoritative Copy    8 ofrecord
                                                                                                           of this  11 PageID:
                                                                                                                         is held at na2.docusign.net
                                                              194                                                                 MCON002




             ME, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A
             PARTICULAR PURPOSE. IN NO EVENT WILL YOU BE LIABLE TO ME FOR ANY LOST PROFITS
             OR SPECIAL, EXEMPLARY, CONSEQUENTIAL OR PUNITIVE DAMAGES, EVEN IF I INFORM YOU
             OF THE POSSIBILITY OF SUCH DAMAGES. FURTHERMORE, I UNDERSTAND YOU MAKE NO
             REPRESENTATION OR WARRANTY TO ME REGARDING THE EFFECT THAT THE NOTE MAY
             HAVE UPON YOUR FOREIGN, FEDERAL, STATE OR LOCAL TAX LIABILITY.

             19.     Entire Agreement. The Upstart® application, and loan disclosures are incorporated into this Note by
             reference. This Note represents the entire agreement between CRB and me.

             20.      Miscellaneous. To the greatest extent not prohibited by applicable law, I am liable to you for your
             legal costs if you refer collection of my loan to a lawyer who is not your salaried employee. These costs may
             include reasonable attorneys' fees as well as costs and expenses of any legal action. If a law that applies to my
             loan and sets maximum loan charges is finally interpreted so that the interest or other loan charges collected or
             to be collected in connection with my loan exceed the permitted limits then: (a) any such loan charge will be
             reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already




                                                                                                  W
             collected from me that exceeded permitted limits will be refunded to me. You may choose to make this refund
             by reducing the principal I owe under this Note or by making a direct payment to me. No provision of this
             Note may be modified or limited except by a written agreement signed by both you and me. The




                                                                                               IE
             unenforceability of any provision of this Note will not affect the enforceability or validity of any other
             provision of this Note.

             21.       Covered Military Borrowers. If I am a “covered borrower,” as defined under F.R. § 232.3(g)(1) the




                                                               V
             Military Lending Act, 10 U.S.C. § 987, as amended, I agree that (i) the provisions of Paragraph 15 (Disputes;
             Arbitration), (ii) any waiver of right to legal recourse under any state or federal law (including but not limited
             to the waiver of defenses under Section 7 and the waiver of presentment, notice of dishonor, protest and all
             other demands and notices otherwise applicable under Section 11), and (iii) any other provision in this Note




                                                             Y
             that is not enforceable against me under the Military Lending Act, do not apply to me.

             22.     State Law Notices. Each of the following notices apply only to the residents of the states indicated.




                               P
             For purposes of this section only, “you” means the borrower and “us,” “we,” or “our” means Cross River
             Bank.




                             O
             For California residents: As required by law, you are hereby notified that a negative credit report reflecting
             on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your
             credit obligations.




              C
             For Iowa residents: NOTICE TO CONSUMER: 1. Do not sign this paper before you read it. 2. You
             are entitled to a copy of this paper. 3. You may prepay the unpaid balance at any time without penalty
             and may be entitled to receive a refund of unearned charges in accordance with law.

             Iowa Residents only (on Loans in amounts greater than $20,000): IMPORTANT: READ BEFORE
             SIGNING. THE TERMS OF THIS AGREEMENT SHOULD BE READ CAREFULLY BECAUSE
             ONLY THOSE TERMS IN WRITING ARE ENFORCEABLE. NO OTHER TERMS OR ORAL
             PROMISES NOT CONTAINED IN THIS WRITTEN CONTRACT MAY BE LEGALLY ENFORCED.
             YOU OR I MAY CHANGE THE TERMS OF THIS AGREEMENT ONLY BY ANOTHER WRITTEN
             AGREEMENT.

             For Kansas residents: NOTICE TO CONSUMER: 1. Do not sign this agreement before you read it. 2.
             You are entitled to a copy of this agreement. 3. You may prepay the unpaid balance at any time
             without penalty.
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                            THIS IS A COPY
          Case 2:24-cv-01902-JKS-CLW                    Document 12-3            FiledThe
                                                                                       04/10/24         Page
                                                                                          Authoritative Copy    9 ofrecord
                                                                                                             of this  11 PageID:
                                                                                                                           is held at na2.docusign.net
                                                               195                                                                    MCON002




             For Missouri residents: Oral or unexecuted agreements or commitments to loan money, extend credit
             or to forbear from enforcing repayment of a debt including promises to extend or renew such debt are
             not enforceable. To protect you (borrower(s)) and us (creditor) from misunderstanding or
             disappointment, any agreements we reach covering such matters are contained in this writing, which is
             the complete and exclusive statement of the agreement between us, except as we may later agree in
             writing to modify it.

             For Nebraska residents: A credit agreement must be in writing to be enforceable under Nebraska law. To
             protect you and us from any misunderstandings or disappointments, any contract, promise, undertaking, or
             offer to forebear repayment of money or to make any other financial accommodation in connection with this
             loan of money or grant or extension of credit, or any amendment of, cancellation of, waiver of, or
             substitution for any or all of the terms or provisions of any instrument or document executed in connection
             with this loan of money or grant or extension of credit, must be in writing to be effective.

             For New Hampshire residents: This Loan Agreement provides for reasonable attorneys’ fees to be awarded
             to us in an action against you involving this Loan Agreement. Reasonable attorney's fees will be awarded to




                                                                                                    W
             you if you prevail in any action, suit or proceeding brought by us; or an action brought by you. If you
             successfully assert a partial defense or set-off, recoupment or counterclaim to an action brought by us the
             court may withhold from us the entire amount or such portion of the attorney fees as the court considers




                                                                                                 IE
             equitable.

             For New Jersey residents: The section headings of the Note are a table of contents and not contract terms.
             Because certain provisions of this Agreement are subject to applicable law, they may be void, unenforceable




                                                               V
             or inapplicable in some jurisdictions. None of these provisions, however, is void, unenforceable or
             inapplicable in New Jersey.




                                                             Y
             For Utah residents: As required by Utah law, you are hereby notified that a negative credit report reflecting
             on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your
             credit obligations.




                              O P
             For Utah residents: This written agreement is a final expression of the agreement between you and us and
             the written agreement may not be contradicted by evidence of any alleged oral agreement.
             If you have certified that you will use the loan proceeds for post-secondary education expenses (as defined in 12
             C.F.R. § 1026.46 (b)(3)) the following notices apply:




              C
             For Maine residents: You represent that you are at least 18 years of age and enrolled at least half time in an
             institution of higher education. You will notify us if you are no longer enrolled at least half time at an institution
             of higher education

             For Nevada residents: This loan is for study.

                                                              *        *        *

             By signing this Note electronically, I acknowledge that I (i) have read and understand all terms and conditions
             of this Note, (ii) agree to the terms set forth herein, and (iii) acknowledge receipt of a completely filled-in copy
             of this Note. You understand this Note is executed in, and loan proceeds are distributed from, New Jersey.

             CAUTION – IT IS IMPORTANT THAT YOU READ THROUGH THE CONTRACT BEFORE YOU SIGN
             IT.

             NOTICE TO CUSTOMER: (1) DO NOT SIGN THIS IF IT CONTAINS ANY BLANK SPACES. (2) YOU
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                THIS IS A COPY
         Case 2:24-cv-01902-JKS-CLW                 Document 12-3   Filed The
                                                                           04/10/24
                                                                              AuthoritativePage
                                                                                           Copy of10
                                                                                                  thisof 11 is
                                                                                                      record PageID:
                                                                                                               held at na2.docusign.net
                                                            196                                                       MCON002




             ARE ENTITLED TO AN EXACT COPY OF ANY AGREEMENT YOU SIGN. (3) YOU HAVE THE
             RIGHT AT ANY TIME TO PAY IN ADVANCE THE UNPAID BALANCE DUE UNDER THIS
             AGREEMENT.

                    2/10/2022
             Date: _______________

                      14229332
             By: _________________________________
                 (Signed Electronically)


             Last Updated: December 16, 2020




                                                                                    IE W
                                                             Y V
                             O P
              C
DocuSign Envelope ID: 6F6F29D1-88A5-45A6-A784-75380A1A34A9                      THIS IS A COPY
         Case 2:24-cv-01902-JKS-CLW                 Document 12-3         Filed The
                                                                                 04/10/24
                                                                                    AuthoritativePage
                                                                                                 Copy of11
                                                                                                        thisof 11 is
                                                                                                            record PageID:
                                                                                                                     held at na2.docusign.net
                                                            197                                                              MCON002


                                                    Approval Disclosure
                2/10/2022
             ____________________                                                      LOAN ID:​_____                _____


              BORROWER:                                            CREDITOR:
                                                                   Cross River Bank
              _______________________
               Mary Connolly
                                                                   885 Teaneck Road
                                                                   Teaneck, NJ, 07666


              ANNUAL                     FINANCE                   Amount Financed             Total of Payments
              PERCENTAGE                 CHARGE                    The amount of credit        The amount you will
              RATE                       The dollar amount the     provided to you.            have paid after you
                                         credit will cost you.                                 have made all
              The cost of your
                                                                                               payments as
              credit as a yearly rate.
                                                                                               scheduled.


                   21.15%


             Your Payment Schedule will be:
                                                $4,344.03                 $6,920.92




                                                                                          IE W      $11,264.95




                                                               V
                   Number of Payments                   Amount of Payments               When Payments Are Due

                                                                                             Monthly Beginning
                           ______
                             59                              __________
                                                              $187.92                      _____________________
                                                                                               Mar 10, 2022




             Late charge:
                              1




                               P                             Y
                                                             __________
                                                              $177.67                      _____________________
                                                                                               Feb 10, 2027



             If a payment is late, you may be charged 5% of the payment or $15, whichever is greater.
             Prepayment:




              C              O
             If you pay off early, you will not have to pay a penalty.
             You will not be entitled to a refund of part of the finance charge​.

             See your ​Promissory Note​ for additional information about nonpayment, default, any required
             repayment in full before the scheduled date and prepayment refunds and penalties.

              Itemization of _________
                             $6,920.92 Amount Financed

                       Amount paid to you: _________
                                           $6,920.92

                       Prepaid Finance Charge (Origination Fee): _________
                                                                  $579.08

                       Principal Amount: _________
                                          $7,500



             By: ​___________________________                                           2/10/2022
                                                                               Date: ​_______________
                      (Signed Electronically)
